










COURT OF APPEALS
EIGHTH DISTRICT OF TEXAS
EL PASO, TEXAS





MAXWELL GOULD DRAPER,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant,

v.


THE STATE OF TEXAS,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellee.

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No. 08-09-00207-CR

Appeal from the

County Criminal Court No. 3

of Denton County, Texas 

(TC# 2007-09496-C) 





MEMORANDUM  OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Pending before the Court is Appellant’s motion to withdraw his notice of appeal pursuant
to Tex.R.App.P. 42.2(a).  Appellant has personally signed his request, and has filed it prior to the
appellate court’s decision.  See Tex.R.App.P. 42.2(a).  Further, a duplicate copy has been filed
with this Court, and has been forwarded to the trial court clerk.  See id.  As the motion complies
with the requirements of Rule 42.2(a), we GRANT Appellant’s motion, and dismiss the appeal.


May 19, 2010
DAVID WELLINGTON CHEW, Chief Justice

Before Chew, C.J., McClure, and Rivera, JJ.

(Do Not Publish)


